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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                    4:10CR3129
                                              )
              v.                              )
                                              )         MEMORANDUM AND ORDER
JAMES P. MASAT,                               )
                                              )
                     Defendant.               )

       The defendant has moved to continue the pretrial motion deadline. Filing No. 38.
Defense counsel explains additional time is needed to fully review the voluminous discovery.
Based on the showing set forth in the defendant’s motion, the court finds the motion should
be granted.


       IT IS ORDERED:

       1)     The defendant’s motion to continue, (filing no. 38), is granted.

       2)     The defendant’s pretrial motions and briefs shall be filed on or before
              September 30, 2011.

       3)     Due to the volume of records involved in this case, and the fact that they have
              only recently been available in a searchable electronic format, the court finds
              this case remains “unusual and complex,” and continues to be exempted from
              the time restrictions of the Speedy Trial Act, 18 U.S.C. 3161(h)(7)(B)(ii)
              because it would be unreasonable for the court to require counsel and the
              parties to be ready for trial within such restrictions


       DATED this 10th day of August, 2011.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
